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                         UNITED STATES DISTRICT COURT

                                               for the

                                   District of Massachusetts


 JOSE MARIA DECASTRO, an individual                )   Case No. 1:22-cv-11421
                                                   )
 Plaintiff,                                        )   PLAINTIFF’S MOTION FOR LEAVE
                                                   )   FOR SURREPLY IN OPPOSITION TO
 v.                                                )   YOUTUBE (GOOGLE LLC)’S
                                                   )   MOTION TO TRANSFER OR DISMISS
 JOSHUA ABRAMS, an individual, et al.,             )
                                                   )
 Defendants.                                       )
 ____________________________________              )


                                            INTRODUCTION

        Plaintiff Jose DeCastro (“Plaintiff”) respectfully moves this Court, pursuant to D. Mass.

Local Rule 7.1(b)(3), for leave to file a surreply in further opposition to YouTube (GOOGLE

LLC) (“YouTube” or “Defendant”)’s Motion to Transfer or Dismiss (ECF No. 124). In support

of this motion, Plaintiff submits a memorandum of law, which is fully incorporated herein.

        If allowed, the reply would be no more than 5 pages, and would be submitted by June 22,

2023 or within seven days of the Court’s order, whichever is later.

        Most of the arguments in YouTube’s reply require little response, as their defects are

readily apparent. See Reply (ECF No. 127) where YouTube puts evidence in the record showing

that Plaintiff has works registered after arguing that Plaintiff doesn’t. But at least two of

Defendant’s arguments are worth addressing in a short reply.

      (1) Defendant YouTube tries to cure deficiencies in its motion. However, reply papers may

only address issues raised in the moving papers. It is improper to introduce new facts, or a
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different legal argument in the reply brief. Lujan v. Nat'l Wildlife Fed'n, 497 U.S. 871, 894–95

(1990); United States ex rel. Giles v. Sardie, 191 F. Supp. 2d 1117, 1127 (C.D. Cal. 2000);

Gutierrez v. Cobos, 841 F.3d 895, 902 (10th Cir. 2016) ("a party waives issues and arguments

raised for the first time in a reply brief."). Since YouTube did not raise, in its motion, the

argument that copyright registration was untimely, YouTube’s argument for untimely copyright

registration is itself untimely and should be disregarded.

     Even if YouTube is allowed to inappropriately raise the alleged “untimely copyright

registration” of Plaintiff’s video, the video was actually registered prior to the second

supplemental complaint in where it is mentioned, so their argument is irrelevant. YouTube

doesn’t support the legal basis of their untimely copyright registration argument anyway.

     Cortes-Ramos v. Martin-Morales, No. 16-1223 (DRD), 2020 U.S. Dist. LEXIS 152384

(D.P.R. Aug. 21, 2020) is an unpublished case that YouTube cites, where in it was decided that

where a copyright holder had filed a registration late that the district court should not have

dismissed the action with prejudice. Instead, it was decided that the action should have been

dismissed without prejudice. Additionally, the copyright holder in Cortes-Ramos, id. could not

cure the defect by amending the complaint. Here, Plaintiff can cure any defect in failing to allege

copyright registration by simply alleging registration in his second supplemental complaint.

     Additionally, Cortes-Ramos, id. ultimately relies on (at *9) a district court case in the 2nd

Cir. where the Court admits to parting ways “with several courts that have held that a post-

registration amendment can cure the defect in a complaint filed before a copyright claim was

registered within the meaning of Section 411(a)”. See Malibu Media, LLC v. Doe, No. 18-CV-

10956 (JMF), 2019 U.S. Dist. LEXIS 56578, at *9 (S.D.N.Y. Apr. 2, 2019).

     Finally, YouTube’s argument is moot. In general, Courts have agreed that they lack the



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jurisdiction to make a ruling on a moot issue but have done so only in the matter of public

interest. See Muskrat v. United States, 219 U.S. 346, 31 S. Ct. 250 (1911) and Flast v. Cohen,

392 U.S. 83, 88 S. Ct. 1942 (1968).

     (2) Plaintiff never published the key video in its complaint. YouTube says that this fact

contradicts Plaintiff’s FAC, but the key video in this complaint was not mentioned until

Plaintiff’s request to make a second supplemental complaint and is also mentioned in the second

supplemental complaint itself. The video is obviously not mentioned at all in the Plaintiff’s FAC.

     Even if it was published, on YouTube even, which Plaintiff denies, YouTube does not

dispute that their TOS only applies to products and services that YouTube provides to a user of

YouTube’s service. YouTube would have this Court believe that allowing third party users of

YouTube to copy Plaintiff’s creative works is a product and service that YouTube provides to

Plaintiff, which is unconscionable. Allowing YouTube’s users to copy Plaintiff’s works is not a

service provided to Plaintiff.

     YouTube continues to be oblivious to the fact that they were joined in this action because

of their third-party liability to the infringing users of their service. YouTube is trying to abandon

this action so that those users must take on YouTube’s portion of the damages. It is possible that

the YouTube user defendants in this action may need to make their third-party claims against

YouTube under a forum selection clause between YouTube and those defendants. However,

YouTube has not made that argument or provided evidence that those defendants agreed to the

TOS. Instead, they purposefully mischaracterize Plaintiff’s complaint.

                                             CONCLUSION

     Again, YouTube should at least be required to read the complaints in their entirety and

plead relevant arguments, but so far, its motion to dismiss lacks any merit.



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     Plaintiff should be allowed to amend its complaint, but if Plaintiff cannot amend its

complaint, only the claims in Plaintiff’s first amended complaint under 17 U.S.C. § 106(1) will

be lost, but the first and second supplemental claims would survive as well as claims under 17

U.S.C. § 501, which don’t require registration according to statute.

                                           DECLARATION

     I declare under penalty of perjury, that the foregoing is true and correct.

                CERTIFICATION PURSUANT TO LOCAL RULE 7.1(a)(2)

     The court has waived this local rule for the remainder of this action.


Dated: June 14, 2023                              Respectfully submitted,

                                                  /s/ Jose DeCastro
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                                                  Santa Monica, CA 90404
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                                 CERTIFICATE OF SERVICE

      I hereby certify that this document filed through the CM/ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing.

                                                  /s/ Jose DeCastro




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